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Fill in this information to identify your case:

Debtor 1                     Alexander Paul Merkel
                             First Name                    Middle Name                       Last Name

Debtor 2
(Spouse if, filing)          First Name                    Middle Name                       Last Name


United States Bankruptcy Court for the:                CENTRAL DISTRICT OF CALIFORNIA

Case number           2:22-bk-16283-WB
(if known)
                                                                                                                                                     Check if this is an
                                                                                                                                                     amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
Part 1:        List All of Your PRIORITY Unsecured Claims
1.    Do any creditors have priority unsecured claims against you?
          No. Go to Part 2.

          Yes.
2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
      identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
      possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
      Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
      (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                      Total claim       Priority              Nonpriority
                                                                                                                                        amount                amount
2.1          Franchise Tax Board                                 Last 4 digits of account number         9036                 $554.70              $347.26             $207.44
             Priority Creditor's Name
             Bankruptcy Section MS A340                          When was the debt incurred?             2021
             Attn Bankruptcy
             Post Office Box 2952
             Sacramento, CA 95812-2952
             Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                             Contingent
             Debtor 1 only                                           Unliquidated
             Debtor 2 only                                           Disputed
             Debtor 1 and Debtor 2 only                          Type of PRIORITY unsecured claim:

             At least one of the debtors and another                 Domestic support obligations

             Check if this claim is for a community debt             Taxes and certain other debts you owe the government
       Is the claim subject to offset?                               Claims for death or personal injury while you were intoxicated
             No                                                      Other. Specify
             Yes                                                                       State Income Taxes




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2.2        Internal Revenue Service                               Last 4 digits of account number       9036                $1,023.66                 $583.56                $440.10
           Priority Creditor's Name
           Centralized Insolvency                                 When was the debt incurred?           2020-2021
           Operations
           PO Box 7346
           Philadelphia, PA 19101-7346
           Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                             Contingent
           Debtor 1 only                                             Unliquidated
           Debtor 2 only                                             Disputed
           Debtor 1 and Debtor 2 only                             Type of PRIORITY unsecured claim:

           At least one of the debtors and another                   Domestic support obligations

           Check if this claim is for a community debt               Taxes and certain other debts you owe the government
       Is the claim subject to offset?                               Claims for death or personal injury while you were intoxicated
           No                                                        Other. Specify
           Yes                                                                          Federal Income Taxes


Part 2:       List All of Your NONPRIORITY Unsecured Claims
3.    Do any creditors have nonpriority unsecured claims against you?

         No. You have nothing to report in this part. Submit this form to the court with your other schedules.

         Yes.

4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
      unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
      than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
      Part 2.
                                                                                                                                                             Total claim

4.1        Affirm                                                    Last 4 digits of account number         AC2J                                                           $295.00
           Nonpriority Creditor's Name
           650 California Street                                     When was the debt incurred?
           San Francisco, CA 94108
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

                Debtor 1 only                                           Contingent
                Debtor 2 only                                           Unliquidated
                Debtor 1 and Debtor 2 only                              Disputed
                At least one of the debtors and another              Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

                No                                                      Debts to pension or profit-sharing plans, and other similar debts

                Yes                                                     Other. Specify    Consumer Debt




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4.2      Affirm                                              Last 4 digits of account number       ISE7                                             $200.00
         Nonpriority Creditor's Name
         650 California Street                               When was the debt incurred?
         San Francisco, CA 94108
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Consumer Debt


4.3      Affirm Inc                                          Last 4 digits of account number       M5L8                                             $226.00
         Nonpriority Creditor's Name
         30 Isabella Street Floor 4                          When was the debt incurred?
         Pittsburgh, PA 15212
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Consumer Debt


4.4      Avant                                               Last 4 digits of account number       3102                                            $4,770.00
         Nonpriority Creditor's Name
         222 N. LaSalle St., Suite 1700                      When was the debt incurred?
         Chicago, IL 60601
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Consumer Debt




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Debtor 1 Alexander Paul Merkel                                                                   Case number (if known)         2:22-bk-16283-WB

4.5      Best Buy / CBNA                                     Last 4 digits of account number       3535                                            $3,544.00
         Nonpriority Creditor's Name
         PO Box 6497                                         When was the debt incurred?
         Sioux Falls, SD 57117
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Consumer Debt


4.6      CBNA/VW                                             Last 4 digits of account number       3551                                             $902.00
         Nonpriority Creditor's Name
         5800 S CORPORATE PL                                 When was the debt incurred?
         Sioux Falls, SD 57108
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Consumer Debt


4.7      Credit One Bank                                     Last 4 digits of account number       9364                                             $660.00
         Nonpriority Creditor's Name
         PO Box 98873                                        When was the debt incurred?
         Las Vegas, NV 89193-8873
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Consumer Debt




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4.8      Dignifi                                             Last 4 digits of account number       47                                              $1,796.00
         Nonpriority Creditor's Name
         2560 55th St                                        When was the debt incurred?
         Boulder, CO 80301
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Consumer Debt


4.9      Feb Destiny/GF                                      Last 4 digits of account number       2211                                             $341.00
         Nonpriority Creditor's Name
         15220 NW Greenbrier Pkwy                            When was the debt incurred?
         Beaverton, OR 97006
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Consumer Debt


4.1
0        Forum Credit Union                                  Last 4 digits of account number       9104                                            $4,369.00
         Nonpriority Creditor's Name
         11313 USA Parkway                                   When was the debt incurred?
         Fishers, IN 46037
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Consumer Debt




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4.1
1        HSBC Bank                                           Last 4 digits of account number       1332                                             $6,426.00
         Nonpriority Creditor's Name
         P.O. Box 2013                                       When was the debt incurred?
         Buffalo, NY 14240
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit Card


4.1
2        LB Oceanaire Developement, LLC                      Last 4 digits of account number       0433                                            $12,973.26
         Nonpriority Creditor's Name
         150 W Ocean Blvd.                                   When was the debt incurred?           2021
         Long Beach, CA 90802
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Lawsuit


4.1
3        Lending Club Corp                                   Last 4 digits of account number       6688                                             $3,982.00
         Nonpriority Creditor's Name
         71 Stevenson 300                                    When was the debt incurred?
         San Francisco, CA 94105
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Consumer Debt




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4.1
4        Lending Point LLC                                   Last 4 digits of account number       I005                                            $31,607.00
         Nonpriority Creditor's Name
         1201 Roberts Blvd. Suite 200                        When was the debt incurred?
         Kennesaw, GA 30144
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Consumer Debt


4.1
5        Mission Lane TAB Bank                               Last 4 digits of account number       1503                                             $1,080.00
         Nonpriority Creditor's Name
         PO Box 105286                                       When was the debt incurred?
         SW # 1340
         Atlanta, GA 30348
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Consumer Debt


4.1
6        Money Lion                                          Last 4 digits of account number       I437                                              $263.00
         Nonpriority Creditor's Name
         PO Box 1547                                         When was the debt incurred?
         Sandy, UT 84091
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Consumer Debt




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4.1
7        Navy Federal CU                                     Last 4 digits of account number                                                       $11,084.00
         Nonpriority Creditor's Name
         One Security Place                                  When was the debt incurred?
         Merrifield, VA 22119
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Consumer Debt


4.1
8        Possible Financial INC                              Last 4 digits of account number       9JYU                                                $58.00
         Nonpriority Creditor's Name
         1929 3RD AVE STE 300                                When was the debt incurred?
         Seattle, WA 98101
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Consumer Debt


4.1
9        Snap Finance                                        Last 4 digits of account number       2208                                              $768.49
         Nonpriority Creditor's Name
         PO Box 26561                                        When was the debt incurred?
         Salt Lake City, UT 84126
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Consumer Debt




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4.2
0        TBOM - Milestone                                    Last 4 digits of account number       1051                                             $464.00
         Nonpriority Creditor's Name
         PO Box 4477                                         When was the debt incurred?
         Beaverton, OR 97076
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Consumer Debt


4.2
1        Telecom Self-reported                               Last 4 digits of account number       CCBC                                             $171.00
         Nonpriority Creditor's Name
         PO Box 4500                                         When was the debt incurred?
         Allen, TX 75013
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Consumer Debt


4.2
2        Uown                                                Last 4 digits of account number                                                       $2,503.62
         Nonpriority Creditor's Name
         10500 University Center Dr. Suite                   When was the debt incurred?
         140
         Tampa, FL 33612
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Consumer Debt




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4.2
3        UpGrade Inc                                         Last 4 digits of account number       1717                                            $1,068.00
         Nonpriority Creditor's Name
         2 North Central Ave. 10th Floor                     When was the debt incurred?
         Phoenix, AZ 85004
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Consumer Debt


4.2
4        UpGrade Inc                                         Last 4 digits of account number       8383                                            $2,839.00
         Nonpriority Creditor's Name
         2 North Central Ave. 10th Floor                     When was the debt incurred?
         Phoenix, AZ 85004
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Consumer Debt


4.2
5        UpGrade Inc                                         Last 4 digits of account number       2592                                            $1,567.00
         Nonpriority Creditor's Name
         2 North Central Ave. 10th Floor                     When was the debt incurred?
         Phoenix, AZ 85004
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Consumer Debt




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Debtor 1 Alexander Paul Merkel                                                                   Case number (if known)         2:22-bk-16283-WB

4.2
6        Uplift Inc                                          Last 4 digits of account number       4416                                                $82.00
         Nonpriority Creditor's Name
         440 N WOLFE ROAD                                    When was the debt incurred?
         Sunnyvale, CA 94085
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Consumer Debt


4.2
7        Uplift Inc                                          Last 4 digits of account number       0047                                                $21.00
         Nonpriority Creditor's Name
         440 N WOLFE ROAD                                    When was the debt incurred?
         Sunnyvale, CA 94085
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Consumer Debt


4.2
8        Uplift Inc                                          Last 4 digits of account number       0136                                             $164.00
         Nonpriority Creditor's Name
         440 N WOLFE ROAD                                    When was the debt incurred?
         Sunnyvale, CA 94085
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Consumer Debt




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Debtor 1 Alexander Paul Merkel                                                                   Case number (if known)         2:22-bk-16283-WB

4.2
9        Uplift Inc                                          Last 4 digits of account number       2187                                             $434.00
         Nonpriority Creditor's Name
         440 N WOLFE ROAD                                    When was the debt incurred?
         Sunnyvale, CA 94085
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Consumer Debt


4.3
0        Uplift Inc                                          Last 4 digits of account number       9437                                             $182.00
         Nonpriority Creditor's Name
         440 N WOLFE ROAD                                    When was the debt incurred?
         Sunnyvale, CA 94085
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Consumer Debt


4.3
1        Uprova                                              Last 4 digits of account number                                                       $2,444.63
         Nonpriority Creditor's Name
         635 East Hwy 20, V                                  When was the debt incurred?
         Upper Lake, CA 95485
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Consumer Debt




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Debtor 1 Alexander Paul Merkel                                                                           Case number (if known)          2:22-bk-16283-WB

4.3
2         Upstart Network Inc                                      Last 4 digits of account number         6217                                                    $4,001.00
          Nonpriority Creditor's Name
          PO Box 1503                                              When was the debt incurred?
          San Carlos, CA 94070
          Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another              Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                          report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Consumer Debt

Part 3:       List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
Name and Address                                             On which entry in Part 1 or Part 2 did you list the original creditor?
Confident Financial                                          Line 4.8 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
1035 PEARL STREET, SUITE 417                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
Boulder, CO 80302
                                                             Last 4 digits of account number

Name and Address                                             On which entry in Part 1 or Part 2 did you list the original creditor?
Superior Court of CA                                         Line 4.12 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
County of Los Angeles                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
275 Magnolia Ave.
Case Number: 23LBSC00433
Long Beach, CA 90802
                                                             Last 4 digits of account number

Name and Address                                             On which entry in Part 1 or Part 2 did you list the original creditor?
Verizon                                                      Line 4.21 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
P. O. Box 5029                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
Wallingford, CT 06492
                                                             Last 4 digits of account number


Part 4:       Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                                Total Claim
                        6a.   Domestic support obligations                                                  6a.       $                          0.00
Total
claims
from Part 1             6b.   Taxes and certain other debts you owe the government                          6b.       $                      1,578.36
                        6c.   Claims for death or personal injury while you were intoxicated                6c.       $                          0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.       6d.       $                          0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                      6e.       $                      1,578.36

                                                                                                                                Total Claim
                        6f.   Student loans                                                                 6f.       $                          0.00
Total
claims
from Part 2             6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                         6g.       $                          0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts             6h.       $                          0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount          6i.       $

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                              here.                                                                                     101,286.00

                        6j.   Total Nonpriority. Add lines 6f through 6i.                         6j.      $            101,286.00




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                        Alexander Paul Merkel
                        150 West Ocean Blvd Apt 1301
                        Long Beach, CA 90802


                        Rabin J. Pournazarian
                        Price Law Group, APC
                        6345 Balboa Blvd. Suite 247
                        Encino, CA 91316


                        Affirm
                        650 California Street
                        San Francisco, CA 94108


                        Affirm Inc
                        30 Isabella Street Floor 4
                        Pittsburgh, PA 15212


                        Avant
                        222 N. LaSalle St., Suite 1700
                        Chicago, IL 60601


                        Best Buy / CBNA
                        PO Box 6497
                        Sioux Falls, SD 57117


                        CBNA/VW
                        5800 S CORPORATE PL
                        Sioux Falls, SD 57108


                        Confident Financial
                        1035 PEARL STREET, SUITE 417
                        Boulder, CO 80302
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                    Credit One Bank
                    PO Box 98873
                    Las Vegas, NV 89193-8873


                    Dignifi
                    2560 55th St
                    Boulder, CO 80301


                    Feb Destiny/GF
                    15220 NW Greenbrier Pkwy
                    Beaverton, OR 97006


                    Forum Credit Union
                    11313 USA Parkway
                    Fishers, IN 46037


                    Franchise Tax Board
                    Bankruptcy Section MS A340
                    Attn Bankruptcy
                    Post Office Box 2952
                    Sacramento, CA 95812-2952


                    HSBC Bank
                    P.O. Box 2013
                    Buffalo, NY 14240


                    Internal Revenue Service
                    Centralized Insolvency Operations
                    PO Box 7346
                    Philadelphia, PA 19101-7346


                    LB Oceanaire Developement, LLC
                    150 W Ocean Blvd.
                    Long Beach, CA 90802
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                    Lending Club Corp
                    71 Stevenson 300
                    San Francisco, CA 94105


                    Lending Point LLC
                    1201 Roberts Blvd. Suite 200
                    Kennesaw, GA 30144


                    Mission Lane TAB Bank
                    PO Box 105286
                    SW # 1340
                    Atlanta, GA 30348


                    Money Lion
                    PO Box 1547
                    Sandy, UT 84091


                    Navy Federal CU
                    One Security Place
                    Merrifield, VA 22119


                    Possible Financial INC
                    1929 3RD AVE STE 300
                    Seattle, WA 98101


                    Snap Finance
                    PO Box 26561
                    Salt Lake City, UT 84126


                    Superior Court of CA
                    County of Los Angeles
                    275 Magnolia Ave.
                    Case Number: 23LBSC00433
                    Long Beach, CA 90802
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                    TBOM - Milestone
                    PO Box 4477
                    Beaverton, OR 97076


                    Telecom Self-reported
                    PO Box 4500
                    Allen, TX 75013


                    Uown
                    10500 University Center Dr. Suite
                    140
                    Tampa, FL 33612


                    UpGrade Inc
                    2 North Central Ave. 10th Floor
                    Phoenix, AZ 85004


                    Uplift Inc
                    440 N WOLFE ROAD
                    Sunnyvale, CA 94085


                    Uprova
                    635 East Hwy 20, V
                    Upper Lake, CA 95485


                    Upstart Network Inc
                    PO Box 1503
                    San Carlos, CA 94070


                    Verizon
                    P. O. Box 5029
                    Wallingford, CT 06492
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                                      PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
6345 Balboa Blvd. Suite 247
Encino, CA 91316

A true and correct copy of the foregoing document entitled (specify): Summary of Amended Schedules, Master
Mailing List, and or Statements will be served or was served (a) on the judge in chambers in the form and manner
required by LBR 5005-2(d); and (b) in the manner stated below:


1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On
(date) 6/2/2023     , I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:
ECF PARTY: Avid Schild, bk@atlasacq.com
CHAPTER 13 TRUSTEE: Nancy K Curry (TR), trustee13la@aol.com
ATTORNEY FOR DEBTOR: Rabin Pournazarian, enotice@pricelawgroup.com
UNITED STATES TRUSTEE (LA), ustpregion16.la.ecf@usdoj.gov
                                                                             Service information continued on attached
page

2. SERVED BY UNITED STATES MAIL: On (date) 6/2/2023                 , I served the following persons and/or entities at the
last known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a
sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.
DEBTOR
Alexander Paul Merkel
150 West Ocean Blvd Apt 1301
Long Beach, CA 90802

CREDITOR
LB Oceanaire Developement, LLC
150 W Ocean Blvd.
Long Beach, CA 90802

Superior Court of CA- County of Los Angeles
275 Magnolia Ave.
Case Number: 23LBSC00433
Long Beach, CA 90802

                                                                                     Service information continued on attached
page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)       , I served the following
persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such service
method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that personal
delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is filed.


                                                                                     Service information continued on attached
page

I declare under penalty of perjury under the laws of the United States of America that the foregoing is true and correct.
6/2/2023                     Ashley Johnson                                             /s/ Ashley Johnson
Date                         Printed Name                                               Signature



    This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

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